      Case 2:18-cv-00013-LGW-BWC Document 31 Filed 03/29/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

COURTNEY WARD, as next friend                )
of J.E.,                                     )
a minor,                                     )
                                             )
       Plaintiff,                            )
                                             )       CIVIL ACTION FILE
vs.                                          )       NO. 2:18-CV-00013-LGW-RSB
                                             )
MCINTOSH COUNTY SCHOOL                       )
DISTRICT, and BOBBY G.                       )
ROBINSON,                                    )
                                             )
       Defendants.                           )
                                             )

                      JOINT MOTION TO LIFT STAY OF DISCOVERY

       COMES NOW all parties herein, by and through their respective undersigned counsel,

and pursuant to Fed. R. Civ. P. 26 and LR 26, move this Court for an order lifting the stay of

discovery previously entered on November 9, 2018. As grounds for this motion, the parties

show the following:

       The state criminal proceedings against Defendant Bobby G. Robinson, which provided

the basis for the Court’s order to stay discovery, has been resolved fully with all criminal counts

against him nolle prossed. There are no other pending matters which require said stay of

discovery to remain in effect.

       WHEREFORE, the parties respectfully request this Court enter an order lifting the

current stay of discovery.

       This 28th day of March, 2019.
     Case 2:18-cv-00013-LGW-BWC Document 31 Filed 03/29/19 Page 2 of 3




                                    /s/ Terry E. Williams
                                    TERRY E. WILLIAMS
                                    Georgia Bar No. 764330

WILLIAMS, MORRIS & WAYMIRE, LLC
Bldg. 400, Suite A
4330 South Lee Street
Buford, GA 30518
678-541-0790
678-541-0789
terry@wmwlaw.com

                                    /s/ Katie S. Mitchell
                                    KATIE S. MITCHELL
                                    Georgia Bar No. 106088

MITCHELL & REDDOCK, LLC
111 West Court Street
Hinesville, GA 31313
Mandrlawoffice@gmail.com

                                    /s/ Wayne S. Melnick
                                    WAYNE S. MELNICK
                                    Georgia Bar No. 501267

Freeman, Mathis & Gary, LLP
100 Galleria Parkway, SE, Suite 1600
Atlanta, GA 30339
wmelnick@fmglaw.com
asabzevari@fmglaw.com

                                    /s/ Hieu M. Nguyen
                                    HIEU M. NGUYEN
                                    Georgia Bar No.

Harben, Hartley & Hawkins, LLP
Wells Fargo Center
340 Jesse Jewell Pkwy., Suite 750
Gainesville, GA 30501
hnguyen@hhhlawyers.com
phartley@hhhlawyers.com



                                             2
     Case 2:18-cv-00013-LGW-BWC Document 31 Filed 03/29/19 Page 3 of 3




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all parties reviewed, approved, joined, and

authorized the filing of the foregoing JOINT MOTION TO LIFT STAY OF DISCOVERY

and further certify I electronically submitted the foregoing to the Clerk of Court using the

CM/ECF system which will automatically send electronic mail notification of such filing to

counsel of record who are CM/ECF participants as follows:


/s/ Wayne S. Melnick                                        /s/ Hieu M. Nguyen
WAYNE S. MELNICK                                            HIEU M. NGUYEN
Georgia Bar No. 501267                                      Georgia Bar No.
Freeman, Mathis & Gary, LLP                                 Harben, Hartley & Hawkins, LLP
100 Galleria Parkway, SE, Suite 1600                        Wells Fargo Center
Atlanta, GA 30339                                           340 Jesse Jewell Pkwy., Suite 750
wmelnick@fmglaw.com                                         Gainesville, GA 30501
asabzevari@fmglaw.com                                       hnguyen@hhhlawyers.com


/s/ Terry E. Williams
TERRY E. WILLIAMS
Georgia Bar No. 764330
Bldg. 400, Suite A
4330 South Lee Street
Buford, GA 30518
terry@wmwlaw.com


              This 28th day of March, 2019.


                                              /s/ Katie S. Mitchell
                                              KATIE S. MITCHELL
                                              Georgia Bar No. 106088

MITCHELL & REDDOCK, LLC
111 West Court Street
Hinesville, GA 31313
Mandrlawoffice@gmail.com



                                                3
